          Case 3:15-cv-07658-MAS-LHG Document 398 Filed 11/13/18 Page 1 of 1 PageID: 12376




                          November 13, 2018

                          VIA ECF

                          The Honorable Lois H. Goodman, U.S.M.J.
                          U.S. District Court for the District of New Jersey
                          Clarkson S. Fisher Building and U.S. Courthouse
                          402 East State Street
                          Trenton, New Jersey 08608

                          Re: In re Valeant Pharms. Int’l, Inc. Sec. Litig., Master File No. 15-7658 (MAS)
Richard Hernandez             (LHG); In re Valeant Pharms. Int’l, Inc. Third-Party Payor Litig., No. 16-
Partner
T. 973-848-8615
                              3087 (MAS) (LHG)
F. 973-297-6615
rhernandez@mccarter.com   Dear Judge Goodman:

                          We write on behalf of all Parties to the above-captioned actions in response to Your
                          Honor’s text order entered on November 13, 2018. The Parties have conferred and
McCarter & English, LLP   do not believe there are any issues that need to be discussed during the telephonic
Four Gateway Center       status conference presently scheduled for 11:30 AM tomorrow, November 14, 2018.
100 Mulberry Street
Newark, NJ 07102-4056
T. 973.622.4444           Please do not hesitate to contact me if you have any questions.
F. 973.624.7070
www.mccarter.com
                          Respectfully submitted,

                          s/ Richard Hernandez

                          Richard Hernandez
BOSTON

                          cc: All Counsel of Record (via ECF)
HARTFORD


STAMFORD


NEW YORK


NEWARK


EAST BRUNSWICK


PHILADELPHIA


WILMINGTON


WASHINGTON, DC
